     Case 2:13-cv-00395-TOR     ECF No. 128    filed 12/04/17   PageID.3244 Page 1 of 3
                                                                                FILED IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON




 1                                                                     Dec 04, 2017
                                                                           SEAN F. MCAVOY, CLERK


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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    ELF-MAN, LLC,
                                                 NO: 2:13-CV-0395-TOR
 8                             Plaintiff,
                                                 ORDER GRANTING MOTION FOR
 9          v.                                   EXTENSION OF TIME

10    RYAN LAMBERSON,

11                             Defendant.
12

13
           BEFORE THE COURT are Plaintiff Elf-Man and attorney Maureen
14
     VanderMay’s Motions for Extensions of Time to File Response/Reply (ECF Nos.
15
     121; 122, respectively) in regard to Washington Center for Justice’s Motion to
16
     Intervene (ECF No. 114) and the Center for Justice and Defendant Ryan
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     ORDER GRANTING MOTION FOR EXTENSION OF TIME ~ 1
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 1   Lamberson’s Motions to Unseal (ECF Nos. 116; 119 1). The motions were

 2   submitted for hearing without oral argument. Having reviewed the motions, the

 3   completed briefing and the files therein, the Court is fully informed. For good

 4   cause shown, and in the interest of giving the interested parties adequate time to

 5   respond to the motions to intervene and unseal, the Motions to extend time to file a

 6   response (ECF Nos. 121; 122) are GRANTED.

 7         In this closed case, the Center for Justice submitted its Motion to Intervene

 8   (ECF No. 114) and a corresponding Motion to Unseal (ECF No. 116) on October

 9   31, 2017. On November 14, 2017 and November 15, 2017, Plaintiff’s counsel of

10   record and Ms. VanderMay filed an untimely motion to extend the time to file a

11   response, requesting additional time due to Plaintiff’s counsel’s alleged inability to

12   make timely contact with Plaintiff Elf-Man and VanderMay’s alleged inability to

13   access the relevant documents subject to the motions to unseal, respectively. ECF

14   Nos. 121; 122.

15         Notably, the motions to unseal were filed nearly three years after the Court’s

16   ultimate disposition granting Defendant’s Motion for Attorney Fees entered on

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           Although not a formal motion, the Court is construing Defendant’s

19   Memorandum in Support (ECF No. 119) as an independent motion to unseal the

20   requested exhibits.



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 1   January 9, 2015 (ECF Nos. 110; 111). Although the Center for Justice and

 2   Defendant oppose the motions for extension to file a response, ECF Nos. 123; 124,

 3   the moving parties merely request an extension until early January of 2018 given

 4   the holiday season. In light of the significant amount of time that has passed since

 5   the ultimate disposition of the case and the minimal delay of a little over one

 6   month, the Court finds that a short extension is warranted.

 7   ACCORDINGLY, IT IS HEREBY ORDERED:

 8         1. The Motions to Extend Time to File Response/Reply (ECF Nos. 121;

 9             122) are GRANTED. Plaintiff Elf-Man and attorney Maureen

10             VanderMay shall file any response to the motions to intervene and unseal

11             by January 9, 2018.

12         2. The Clerk of Court shall reopen this closed case to accommodate these

13             collateral proceedings.

14         The District Court Executive is hereby directed to enter this Order and

15   furnish a copy to the parties.

16         DATED December 4, 2017.

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                                      THOMAS O. RICE
19                             Chief United States District Judge

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     ORDER GRANTING MOTION FOR EXTENSION OF TIME ~ 3
